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     1   MARK W. ROBERTSON (S.B. #200220)
         mrobertson@omm.com
     2   O'MELVENY & MYERS LLP
         7 Times Square
     3   New York, NY 10036
     4   Telephone: (212) 326-2000
         Facsimile: (212) 326-2061
     5
         KELLY WOOD (S.B. #267518)
     6   kwood@omm.com
         O’MELVENY & MYERS LLP
     7   610 Newport Center Drive, 17th Floor
         Newport Beach, California 92660
     8   Telephone: (949) 823 6900
         Facsimile: (949) 823 6994
     9
         Attorneys for Defendants
    10   American Airlines Group, Inc., American
    11   Airlines, Inc., and Tim McMahan

    12
    13                     UNITED STATES DISTRICT COURT

    14                    CENTRAL DISTRICT OF CALIFORNIA

    15
    16   JANETTE BECKMAN, an individual,           Case No. 2:20-cv-07868 MWF
         and LEEANNE HANSEN, an                             (MRWx)
    17   individual,
                                                   MEMORANDUM OF POINTS
    18                     Plaintiffs,             AND AUTHORITIES IN
                                                   SUPPORT OF MOTION TO
    19         v.                                  DISMISS CLAIMS IN
                                                   PLAINTIFFS’ COMPLAINT
    20   AMERICAN AIRLINES GROUP,                  PURSUANT TO FEDERAL
         INC., a Delaware corporation,             RULE OF CIVIL PROCEDURE
    21   AMERICAN AIRLINES, INC., a                12(B)(6)
         Delaware corporation, SIGSBEE             Hearing Date: November 16, 2020
    22   “JOHN” NELSON, an individual,             Time: 10:00 a.m.
         CAMERON BINION, an individual,            Judge: Hon. Michael W. Fitzgerald
    23   TIM MCCANN, an individual and             Courtroom: 5A
    24   DOES 1 through 50, inclusive,
                                                   [Filed concurrently with Notice of
    25                     Defendants.             Motion and Motion, and Proposed
                                                   Order]
    26
    27
    28
                                                           RULE 12(B)(6) MOTION TO DISMISS
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     1   I.        INTRODUCTION.
     2             In their Complaint, Plaintiffs Janette Beckman (“Beckman”) and Leeanne
     3   Hansen (“Hansen”) (collectively, “Plaintiffs”) purport to assert 18 causes of action
     4   against their employer, Defendant American Airlines, Inc. (“American”), and its
     5   parent corporation, American Airlines Group Inc. (“AAG”). Plaintiffs fail to state a
     6   claim as to any of their causes of action against American or AAG, and their
     7   Complaint should thus be dismissed on that basis.1
     8             First, Plaintiffs’ Complaint should be dismissed in its entirety because
     9   Plaintiffs fail to allege even the most basic facts related to their claims, such as the
    10   dates and locations of the alleged events at issue. This deficiency is particularly
    11   problematic as to their FEHA claims because the events underlying Plaintiffs’
    12   claims must have occurred in California in order for FEHA to apply. Plaintiffs
    13   cannot ignore material, basic facts related to their claims in an effort to avoid
    14   dismissal.
    15             Second, Plaintiffs attempt to hold American and AAG vicariously liable for
    16   the alleged sexual misconduct of American’s former employee, First Officer
    17   Sigsbee Nelson (“Nelson”)—something California courts have never done outside
    18   of the limited, unique context of sexual assaults by uniformed police officers. As a
    19   matter of law, Nelson’s misconduct was not within the scope of his employment
    20   with American, and thus neither American nor AAG can be held vicariously liable
    21   for it.
    22             Third, Plaintiffs bring a number of claims for which workers’ compensation
    23   provides their exclusive remedy or that, for other reasons, cannot be maintained
    24   against American or AAG as a matter of law.
    25   1
           AAG is the parent, holding company of American and several other airlines. If
    26   AAG is not dismissed for the reasons set forth below, AAG intends to seek
    27   dismissal at a later stage of the litigation based on the fact that it is a holding
         company only that has no employees and thus had no (and could have no)
    28   involvement in the claims at issue in the Complaint.
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     1         Fourth and finally, Plaintiffs plead many of their claims based on nothing
     2   more than legal conclusions, which Plaintiffs cannot rely on to survive a motion to
     3   dismiss, without stating any facts that would establish the elements of their claims.
     4   For example, Plaintiffs fail to plead facts supporting any causal link between their
     5   protected status or protected activity and any alleged harassment or adverse
     6   employment action taken against them. This failure is fatal to their claims for
     7   discrimination, harassment, and retaliation.
     8         For these reasons, American and AAG ask the Court to grant their motion to
     9   dismiss all of Plaintiffs’ claims against them.
    10   II.   PLAINTIFFS’ FACTUAL ALLEGATIONS.2
    11         Plaintiffs are flight attendants employed by American. (Compl. ¶ 21.)
    12   During a flight, First Officer Nelson made inappropriate comments to them after
    13   Beckman refused to provide him with an alcoholic beverage. (Id. ¶ 23-24.)
    14   Nelson’s comments included statements about sadomasochism and Plaintiffs’
    15   “lik[ing] to be tied up.” (Id. ¶ 24-25.) “[L]ater,” Nelson, “startling Hansen from
    16   behind, grabbed Hansen by her hips, dug his nails into her hip bones, and
    17   repeatedly and violently thrust his penis into Hanson’s buttocks,” while in uniform
    18   and on duty. (Id. ¶ 26.)
    19         Plaintiffs told Captain Sipovac (“Sipovac”), the other pilot on the trip, what
    20   Nelson had done. (Id. ¶ 27.) Sipovac was not surprised and said that Nelson had
    21   previously boasted of sexual conquests with “underage prostitutes.” (Id.) Sipovac
    22   asked Plaintiffs what they wanted to do, and after the return flight to Los Angeles
    23   International Airport (“LAX”), recommended that Plaintiffs report Nelson’s
    24   conduct to a union committee that represents pilots at American, the Allied Pilots
    25   Association’s Professional Standards for Pilots (“Union PSP”). (Id. ¶ 30.)
    26   Following the flight with Nelson, Hansen went on a leave of absence. (Id. ¶ 29.)
    27
         2
    28    These allegations are taken from Plaintiffs’ Complaint and are assumed to be true
         solely for purposes of this Motion.
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   1   Beckman also went on leave after she flew with Nelson a week later and he
   2   allegedly “whisper[ed] in her ear.” (Id.)
   3         Plaintiffs lodged a complaint with the Union PSP, but they were dissatisfied
   4   with the results. (Id. ¶ 30.) Only then did Plaintiffs file complaints with
   5   American’s Human Resources department. (Id. ¶ 30-31.) “Shortly thereafter,”
   6   American put Nelson on a leave of absence and launched an investigation into
   7   Nelson’s misconduct. (Id. 30-32.) Plaintiffs allege that at the outset of the
   8   investigation, Tim McMahan (“McMahan”), a Flight Services Director based out of
   9   LAX, offered Plaintiffs paid time off until American completed the investigation,
  10   but that days later, McMahan retracted the offer of paid leave. (Id.)3 Plaintiffs
  11   claim that Nelson was placed on paid leave pending the investigation. (Id. ¶ 32.)4
  12         As part of the investigatory process, a Human Resources representative for
  13   American interviewed Plaintiffs regarding their allegations. (Id. ¶ 33.) Plaintiffs
  14   claim that they did not receive reimbursement for the parking costs and mileage
  15   they incurred attending their interviews. (Id. ¶ 35.) American completed its
  16   investigation and terminated Nelson’s employment. (See id. ¶ 36, 38.)
  17         Plaintiffs have not returned to work since taking a leave of absence. (Id. ¶
  18   39.) Plaintiffs claim that during this time, American has scheduled them for work
  19   and then issued write-ups and disciplinary points when Plaintiffs failed to report for
  20   work. (Id.) Plaintiffs also claim that Cameron Binion (“Binion”), a Flight Services
  21   Manager, “interfered with” their medical benefits by arranging to have them cut off.
  22   (Id. ¶ 40.) Binion also allegedly sent Beckman a disciplinary letter for her failure to
  23   report for work. (Id. ¶ 43.)
  24         Plaintiffs filed administrative complaints with the Department of Fair
  25
       3
  26     Plaintiffs misspell Defendant Tim McMahan’s name as “Tim McCann” in the
       case caption and throughout their Complaint.
  27   4
         Plaintiffs fail to mention that the collective bargaining agreement governing the
  28   terms and conditions of employment for all pilots at American requires American to
       provide paid leave during any investigation of a pilot’s alleged misconduct.
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   1   Employment and Housing and, on April 29, 2020, received a right to sue letter. (Id.
   2   ¶ 6.) On July 2, 2020, Plaintiffs filed a Complaint in Los Angeles Superior Court
   3   asserting 18 causes of action for: (1) Sexual Battery; (2) Battery; (3) Assault; (4)
   4   Harassment on the Basis of Sex/Gender; (5) Harassment on the Basis of Disability;
   5   (6) Discrimination on the Basis of Sex/Gender; (7) Discrimination on the Basis of
   6   Disability; (8) Failure to Accommodate Disability; (9) Failure to Engage in the
   7   Interactive Process; (10-12) Retaliation under the FEHA and Labor Code §§ 1102.5
   8   and 6310; (13) Failure to Prevent, Remedy, or Investigate Harassment,
   9   Discrimination, or Retaliation; (14) Negligent Retention/Supervision; (15) Failure
  10   to Reimburse Business Expenses; (16) Violation of the Ralph Act; (17) Intentional
  11   Infliction of Emotional Distress; and (18) Negligent Infliction of Emotional
  12   Distress.
  13          On August 27, 2020, American and AAG removed to this Court based on
  14   diversity jurisdiction.
  15   III.   ARGUMENT.
  16          A court must dismiss a claim under Rule 12(b)(6) where “it appears beyond
  17   doubt that the plaintiff can prove no set of facts . . . which would entitle [plaintiff]
  18   to relief.” Conley v. Gibson, 355 U.S. 41, 45-46 (1957). In ruling on a Rule
  19   12(b)(6) motion, the Court accepts as true “the allegations of material facts set forth
  20   in the complaint.” Pareto v. F.D.I.C., 139 F.3d 696, 699 (9th Cir. 1998).
  21   “However, conclusory allegations of law and unwarranted inferences are not
  22   sufficient to defeat a motion to dismiss.” Id. Each of Plaintiffs’ 18 causes of action
  23   against American and AAG fail as a matter of law.
  24          A.    Plaintiffs’ Complaint Should Be Dismissed In Its Entirety Because
                    It Does Not Satisfy The Pleading Requirements Of Rule 8 Of The
  25                Federal Rules Of Civil Procedure.
  26          Plaintiffs’ Complaint should be dismissed in its entirety because Plaintiffs
  27   have failed to allege even the most basic facts related to their claims, i.e., the dates
  28   and locations of the alleged events at issue. O’Donnell v. U.S. Bancorp Equip.
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   1   Finance, Inc., No. C10-0941 TEH, 2010 WL 2198203, at *3 (N.D. Cal., May 28,
   2   2010) (granting motion to dismiss and finding that plaintiff “failed to satisfy the
   3   pleading requirements of Federal Rule of Civil Procedure 8 because she has not
   4   alleged any dates in her complaint.”)
   5         Plaintiffs assert that Nelson made offensive comments during a flight and
   6   “later” engaged in unwelcome touching of Hansen. (Compl. ¶ 23-26.) But
   7   Plaintiffs give no indication of when the flight took place, or where they were when
   8   the alleged misconduct occurred. These facts are particularly significant with
   9   respect to Plaintiffs’ FEHA claims because the “FEHA, a California statute, does
  10   not reach conduct occurring entirely outside of California.” Trujillo v. Continental
  11   Airlines, Inc., No. CV 12-4300 ABC DTBX, 2013 WL 10776600, at *4 (C.D. Cal.
  12   July 2, 2013).5
  13         Perez v. DNC Parks & Resorts at Asilomar, Inc., No.119CV00484DADSAB,
  14   2019 WL 5618169 (E.D. Cal., Oct. 31, 2019) is illustrative. In Perez, the plaintiff
  15   asserted numerous wage and hour claims, but failed “to plead any specific facts
  16   about his employment—he does not allege his job title, his job description or
  17   duties, the dates of his employment, the physical location(s) where he worked, or
  18   the specific defendant(s) for which he worked.” Id. at *7. The court dismissed the
  19   complaint, holding that it was “bereft of ‘even the most basic facts regarding his
  20   employment’ that would allow the court to draw a reasonable inference about ‘these
  21   allegations and thus move them beyond ‘the line between possibility and
  22   plausibility.’” Id. (citing Ovieda v. Sodexo Operations, LLC, No. CV 12-1750-
  23
       5
  24     In reality—as Plaintiffs are well-aware—Nelson’s alleged misconduct occurred on
       route to, and in, Sao Paolo, Brazil, where the FEHA indisputably does not apply.
  25   Trujillo, 2013 WL 10776600, at *1. Plaintiffs, however, cannot avoid dismissal of
  26   their FEHA claim by simply omitting these material facts. See, e.g., Corum v.
       Hartford Accident & Indem. Co., 67 Cal. App. 2d 891, 895 (1945) (dismissing a
  27   claim for failure to plead the date on which a key incident occurred because the
  28   court could not evaluate the defendant’s potential statute of limitations defense).

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   1   GHK SSX, 2012 WL 1627237, at *3 (C.D. Cal. May 7, 2012)).
   2         Like the plaintiff in Perez, Plaintiffs fail to allege the dates of their
   3   employment, when their flight with Nelson occurred, where they were when Nelson
   4   made inappropriate comments, when Nelson inappropriately touched Hansen, and
   5   where they were when the unwelcome touching allegedly occurred. Because
   6   Plaintiffs’ claims are “bereft of even the most basic facts,” it is impossible for
   7   American or this Court to assess the viability of Plaintiffs’ Complaint, and it should
   8   be dismissed in its entirety.
   9         B.     Hanson Fails To State Claims Against American And AAG For
                    Sexual Battery, Battery, And Assault.
  10
  11         Hansen’s claims for sexual battery, battery, and assault against American and
  12   AAG, based on Nelson’s alleged sexual misconduct, fail as a matter of law.
  13   Hansen asserts that American is liable for Nelson’s misconduct under the doctrine
  14   of respondeat superior. (Compl. ¶ 50.) But American can only be liable under that
  15   doctrine if Nelson’s misconduct either (1) occurred during the course and scope of
  16   employment or (2) was later ratified by American. Lisa M. v. Henry Mayo Newhall
  17   Mem. Hosp. 12 Cal. 4th 291, 296 (1995); Herrick v. Quality Hotels, Inns & Resorts,
  18   Inc., 19 Cal. App. 4th 1608, 1618 (1993). Because Plaintiffs’ own allegations
  19   confirm that neither is the case here, Hansen’s claims for sexual battery, battery,
  20   and assault should be dismissed.
  21         “The general rule is that where an employee commits acts of sexual
  22   misconduct during the course of his work, such acts are outside the scope of his
  23   employment, and no vicarious liability attaches.” Doe v. City of San Diego, 35 F.
  24   Supp. 3d 1195, 1204-05 (S.D. Cal. 2014). Under California law, “with the
  25   exception of cases involving sexual misconduct by on-duty police officers against
  26   members of the public, employers have not been held vicariously liable for the
  27   sexual wrongdoing of their employees.” John Y. v. Chaparral Treatment Ctr., Inc.,
  28   101 Cal. App. 4th 565, 575 (2002); see also Maria D. v. Westec Residential Sec.,

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   1   Inc., 85 Cal. App. 4th 125, 146 (2000), as modified (Dec. 20, 2000). In Maria D.,
   2   for example, the court found that an employer could not be vicariously liable for its
   3   security guard’s sexual misconduct, despite the similarities between police officers
   4   and security guards, because security guards do not act as a representative of the
   5   state or have the same “extraordinary,” “awesome,” “formidable” and “unique”
   6   powers and authority as police officers. 85 Cal. App. 4th at 146, 150; see also Lisa
   7   M., 12 Cal. 4th at 306 (hospital was not liable under doctrine of respondeat
   8   superior for technician’s assault of patient because, as a matter of law, sexual
   9   assault was outside scope of employment).
  10         Here, there are no allegations to support an exception to the general rule that
  11   sexual assault is outside the scope of employment. Nelson is not a police officer,
  12   nor is he vested with the “extraordinary” powers of the police to act on the state’s
  13   behalf in enforcing the law. See Maria D., 85 Cal. App. 4th at 146, 150; Lisa M.,
  14   12 Cal. 4th at 306. Moreover, Plaintiffs do not allege (nor could they) that Nelson’s
  15   alleged actions were “engendered by or connected to” his employment as a pilot.
  16   John Y., 101 Cal. App. 4th at 575. Accordingly, as a matter of law, American and
  17   AAG cannot be vicariously liable for sexual battery, battery, or assault based on
  18   Nelson’s sexual misconduct. Id. at 574-75 (“the relationship between an
  19   employee’s work and wrongful conduct” may be decided as a matter of law when
  20   the conduct “is so attenuated that a jury could not reasonably conclude that the act
  21   was within the scope of employment.”).
  22         Even if the court found Nelson’s conduct was within the scope of his
  23   employment (which, as a matter of law, it was not), American and AAG would still
  24   not be liable because workers’ compensation would be Hansen’s exclusive remedy.
  25   See Vasquez v. Cty. of Los Angeles, No. CV 11-3849 PSG (PJWx), 2012 WL
  26   12930526, at *11–12 (C.D. Cal. 2012) (dismissing assault and battery claims
  27   brought against employer on respondeat superior grounds because “if Plaintiffs
  28   successfully show that the Individual Defendants were acting within the scope of

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   1   their employment with the County . . . workers’ compensation would be their
   2   exclusive remedy.”)
   3         Finally, the Complaint establishes that American did not ratify Nelson’s
   4   misconduct. Plaintiffs allege that, “shortly” after Plaintiffs reported Nelson’s
   5   misconduct to American’s Human Resources department, American placed Nelson
   6   on leave, investigated Plaintiffs’ allegations, and terminated Nelson’s employment.
   7   (See Compl. ¶¶ 31, 32, 36.) Plaintiffs’ allegations themselves thus establish that
   8   American did not ratify Nelson’s conduct. See Garcia ex rel. Marin v. Clovis
   9   Unified Sch. Dist., 627 F. Supp. 2d 1187, 1202-03 (E.D. Cal. 2009) (“If CUSD had
  10   ratified Burns’s conduct, it would not have taken steps to effectuate change or to
  11   punish Burns. The same actions by CUSD that show a lack of deliberate
  12   indifference also show a lack of ratification.”). Accordingly, Plaintiffs fail to state
  13   a claim against American or AAG for sexual assault, assault, or battery.
  14         C.     Hansen Fails To State A Claim For Assault for an Additional
                    Reason.
  15
  16         Hansen’s assault claim should also be dismissed because she fails to allege
  17   that she “was put in imminent apprehension of” a harmful or offensive contact, as
  18   required to state a viable claim for assault under California law. Kocol v. United
  19   States, No. CV 14-08436-MMM(ASX), 2015 WL 12670408, at *6 (C.D. Cal. May
  20   7, 2015) (quoting Garcia v. City of Merced, 637 F. Supp. 2d 731, 747 (E.D. Cal.
  21   2008)). Indeed, “[t]he essence of the intentional tort of assault is the apprehension
  22   of harmful or offensive contact.” Irvine v. City & Cty. of San Francisco, No. CV
  23   00–01293 EDL, 2001 WL 967524, *9 (N.D. Cal. July 12, 2001) (emphasis added).
  24   Here, however, Hansen alleges that Nelson, “startling Hansen from behind,
  25   grabbed Hansen by her hips. . . .” (Compl. ¶ 26 (emphasis added).) Not only does
  26   Hansen fail to allege that she “was put in imminent apprehension of” Nelson’s
  27   offensive contact, but her allegation that she was “startled from behind” prevents
  28   her from establishing “the essence of the intentional tort of assault.” Irvine, 2001

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   1   WL 967524 at *9. Accordingly, Hansen fails to state a claim for assault for this
   2   reason as well.
   3         D.     Plaintiffs’ Fail To State A Sexual Harassment Claim Against
                    American or AAG.
   4
   5          Plaintiffs’ claim for sexual harassment against American and AAG is based
   6   on (1) Nelson’s inappropriate comments to Plaintiffs and his unwelcome touching
   7   of Hansen, and (2) McMahan’s retraction of an offer for paid leave. Plaintiffs have
   8   failed to state a cognizable claim against American or AAG for three reasons.
   9                1.     Plaintiffs Have Not Pled Facts Sufficient To Establish That
                           The FEHA Applies.
  10
  11          “Ordinarily, state statutes are not given extraterritorial effect.” Russo v. APL
  12   Marine Serv., Ltd., 135 F. Supp. 3d 1089, 1094 (C.D. Cal. 2015) (citing North
  13   Alaska Salmon Co. v. Pillsbury, 174 Cal. 1, 4 (1916)). With respect to the FEHA,
  14   the “majority of courts in California and other jurisdictions have found that the
  15   extraterritorial application of FEHA is determined by the situs of both employment
  16   and the material elements of the cause of action, as opposed to residence of the
  17   employee or employer.” Russo, 135 F. Supp. 3d at 1094 (emphasis added) (citing
  18   Guillory v. Princess Cruise Lines, Ltd., 2007 WL 102851 (Cal. Ct. App. 2007));
  19   Peikin v. Kimmel & Silverman, P.C., 576 F. Supp.2d 654, 657 (D. N.J. 2008); and
  20   Priyanto v. M/S Amsterdam, No. CV 07-3811AHMJTLX, 2009 WL 175739, at *7-
  21   8 (C.D. Cal. Jan. 23, 2009)). Here, Plaintiffs fail to allege any facts to establish that
  22   the FEHA actually applies to their sexual harassment claim. For that reason alone,
  23   it should be dismissed.6 Noble v. Dorcy Inc., No. 219CV08646ODWJPRX, 2020
  24   WL 374886, at *4 (C.D. Cal., Jan. 23, 2020) (grating motion to dismiss sexual
  25   harassment claim because “the Court cannot determine whether Noble has claims
  26
  27   6
         As noted above, in actuality, the alleged conduct occurred in Brazil, and Plaintiffs
  28   cannot avoid dismissal of their FEHA claim by simply omitting these material
       facts. See supra n.5.
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   1   under FEHA based on the allegations in her complaint.”)
   2                2.    American and AAG Cannot Be Liable For Nelson’s Conduct
                          Because Plaintiffs’ Complaint Makes Clear That The
   3                      Company Took Prompt Remedial Action When Plaintiffs
                          Reported It.
   4
   5         Plaintiffs allege that Nelson made inappropriate comments on a flight,
   6   inappropriately touched Hansen, and on a flight a week later, “whisper[ed] in”
   7   Beckman’s ear. (Compl. ¶¶ 23-25, 29.) Plaintiffs assert that they reported Nelson’s
   8   conduct to their coworker (Captain Sipovac), the Allied Pilots Association’s
   9   Professional Standards for Pilots, and finally, to American’s Human Resources
  10   department. (Id. ¶ 27, 30-31.) According to Plaintiffs, “[s]hortly thereafter,”
  11   American launched an investigation, placed Nelson on a leave of absence during
  12   the investigation, and terminated Nelson’s employment. (Id. ¶¶ 31, 33, 36.)
  13         Plaintiffs do not allege that Nelson, a First Officer, was a supervisor (and he
  14   was not), so American can only be liable for his actions if American, or an agent or
  15   supervisor of American, (a) knew or should have known of the harassing conduct
  16   and (b) failed to take immediate and appropriate corrective action. Gov’t Code §
  17   12940(j)(1). “The § 12940(j)(l) ‘knows or should have known’ language creates a
  18   negligence standard.” Rubadeau v. M.A. Mortenson Co., No. 1:13-CV-339 AWI
  19   JLT, 2013 WL 3356883, at *14 (E.D. Cal., July 3, 2013). An employer’s remedial
  20   actions are sufficient if they are “reasonably calculated to end the harassment.”
  21   Ellison v. Brady, 924 F. 2d 872, 882 (9th Cir. 1991).
  22         Here, Plaintiffs allege that once they finally reported Nelson’s misconduct to
  23   American’s Human Resources department, that “shortly thereafter,” American
  24   placed Nelson on a leave of absence, launched an investigation into Nelson’s
  25   misconduct, and terminated his employment. (Compl. ¶¶ 31-32.) Plaintiffs do not
  26   allege that Nelson continued to harass them, or that American’s response to
  27   Plaintiffs’ allegations did not “end the harassment.” Id.; (Comp. ¶¶ 31, 33, 36.)
  28   Accordingly, because Plaintiffs’ allegations establish that American took immediate

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   1   corrective action in response to their harassment complaints, they fail to state a
   2   cause of action for sexual harassment against American or AAG.
   3                  3.   American and AAG Cannot Be Liable For Sexual
                           Harassment Based On McMahan’s Personnel Decision.
   4
   5         Plaintiffs allege that McMahan “harassed” them by offering them “paid time
   6   off until the Company completed its investigation,” and then “retracting the
   7   guaranteed paid leave just days later.” (Comp. ¶ 31.) There are no other factual
   8   allegations against McMahan.
   9         The conduct relied upon by Plaintiffs in support of their sexual harassment
  10   claim is a personnel management decision and thus cannot establish a claim for
  11   harassment as a matter of law. As the California Supreme Court has explained,
  12   “[m]aking a personnel decision is conduct of a type fundamentally different from
  13   the type of conduct that constitutes harassment.” Reno v. Baird, 18 Cal. 4th 640,
  14   646 (1998); see also Sheppard v. Freeman, 67 Cal. App. 4th 339, 349 (1998)
  15   (“[E]mployees, regardless of their scope of employment or personal motives,
  16   cannot be individually liable for their acts or words relating to personnel actions . . .
  17   .”); Cofer v. Parker-Hannifin Corp., 194 F. Supp. 3d 1014, 1019 (C.D. Cal. 2016)
  18   (personnel management actions, such as “project assignments, promotion or
  19   demotion, performance evaluations, or compensation decisions,” cannot constitute
  20   harassment.)
  21         In Cofer, the Central District of California granted an employer’s motion to
  22   dismiss its former employees’ claims for age and race-based harassment because
  23   the alleged harassment was “personnel-related conduct.” 194 F. Supp. 3d at 1019.
  24   The former employee alleged that his employer and several of his supervisors had
  25   refused to promote him, precluded him from participating in trainings, excluded
  26   him from meetings, and ultimately terminated him. Id. The court dismissed his
  27   harassment claims, holding that such conduct consisted of “official employment
  28   actions” and could not constitute harassment as a matter of law. Id. at 1020. The

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   1   court noted that there were no allegations of offensive conduct unrelated to official
   2   employment actions that could potentially amount to harassment. Id.
   3         Cofer is directly on point. Like the plaintiff in Cofer, Plaintiffs do not allege
   4   “anything else aside from official employment actions,” i.e., a decision regarding
   5   paid or unpaid leave. Id. Such alleged conduct cannot constitute harassment on the
   6   basis of sex/gender as a matter of law, and accordingly, Plaintiffs’ sexual
   7   harassment claim against American and AAG should be dismissed. Id.; Reno, 18
   8   Cal. 4th at 646; Sheppard, 67 Cal. App. 4th at 349.
   9                4.     Beckman’s Claim For Sexual Harassment Fails.
  10         In addition to the reasons detailed above, Beckman’s sexual harassment
  11   claim also fails because the conduct she allegedly experienced is insufficient to
  12   constitute actionable harassment as a matter of law. To state a claim for sexual
  13   harassment under the FEHA, a plaintiff “must demonstrate that the conduct
  14   complained of was severe enough or sufficiently pervasive to alter the conditions of
  15   employment and create a work environment that qualifies as hostile or abusive to
  16   employees because of their sex.” Alexander v. Cmty. Hosp. of Long Beach, 46 Cal.
  17   App. 5th 238, 262-63 (2020), reh’g denied (Mar. 10, 2020), review denied (July 15,
  18   2020) (emphasis in original)7; see also Lyle v. Warner Bros. T.V. Prods., 38 Cal.
  19   4th 264, 279 (2006); Clark Cty. Sch. Dist. v. Breeden, 532 U.S. 268, 271 (2001).
  20   “Generally, . . . sexual conduct that involves or is aimed at persons other than the
  21   plaintiff is considered less offensive and severe than conduct that is directed at the
  22   plaintiff.” Lyle, 38 Cal. 4th at 284-285. Accordingly, sexual harassment claims
  23
       7
  24    Plaintiffs cite to Cal. Gov. Code § 12923, which took effect in January 2019 and
       set forth the legislature’s “intent with regard to application of the laws about
  25   harassment.” Since January 2019, however, California and federal courts have
  26   continued to consistently apply the familiar “severe and pervasive” standard when
       analyzing FEHA sexual harassment claims. See, e.g., Alexander, 46 Cal. App. 5th
  27   at 262-63; Wasche v. Orchard Hosp., No. 2:18-CV-022460-MCE-DB, 2020 WL
  28   4923710, at *8 (E.D. Cal. Aug 21, 2020); Carter v. Nat'l R.R. Passenger Corp., No.
       CV 18-9652 PSG (JCX), 2020 WL 2475085, at *6 (C.D. Cal. Jan. 24, 2020).
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   1   brought by a witness to the alleged harassment of another require a “higher showing
   2   that the sexually harassing conduct was pervasive and destructive of the working
   3   environment.” Id.; see also Alexander, 46 Cal. App. 5th at 262-63.
   4         In Lyle, for example, the California Supreme Court held an employee failed
   5   to state a claim for sexual harassment where her male coworkers allegedly engaged
   6   in “sexual antics” in her presence, including sexual commentary about women’s
   7   bodies, mimicry of sex acts, and discussions about their personal sexual experiences
   8   and preferences, because none of the conduct the plaintiff complained of was
   9   directed at her. 38 Cal. 4th at 286-87.
  10         Here, Beckman’s claim for sexual harassment is based on a single
  11   inappropriate comment by Nelson, and Beckman allegedly witnessing a single
  12   inappropriate touching of her coworker. This single inappropriate comment, paired
  13   with misconduct Beckman allegedly witnessed, but did not personally experience,
  14   is insufficient to constitute actionable harassment as a matter of law. See id.; Clark,
  15   532 U.S. at 271 (noting that “simple teasing, offhand comments, and isolated
  16   incidents (unless extremely serious)” will not constitute harassment); Fisher v. San
  17   Pedro Peninsula Hosp., 214 Cal. App. 3d 590, 612 (1989) (sustaining demurrer
  18   where plaintiff witnessed perpetrator pull nurses into his lap, hug and kiss them,
  19   place his hands on women’s breasts, make sexually offensive comments, move his
  20   hands towards a woman’s genitals, and walk behind a woman while making pelvic
  21   movements). Thus, Beckman’s claim for sexual harassment fails to state a claim
  22   for this reason as well.
  23         E.     Plaintiffs Fail To State A Disability Harassment Claim Against
                    American or AAG.
  24
  25         Plaintiffs bring a claim for disability harassment against American and AAG
  26   based on (1) McMahan’s retraction of an offer of paid leave, (2) Binion’s alleged
  27   involvement in Plaintiffs’ medical benefits being cut off, (3) a disciplinary letter
  28   Binion allegedly sent to Beckman due to her failure to report to work, and (4)

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   1   American’s issuance of write-ups and disciplinary points to Plaintiffs for their
   2   failure to report to work. Plaintiffs have failed to state a cognizable claim against
   3   American or AAG because all of these actions amount to personnel management
   4   decisions and Plaintiffs do not plead any facts that would link these actions to
   5   Plaintiffs’ alleged disabilities.
   6                 1.     American and AAG Cannot Be Liable Based On The
                            Personnel Decisions Plaintiffs Complain Of, As These
   7                        Decisions Are Not Harassment As A Matter Of Law.
   8          Plaintiffs allege that McMahan “harassed” them by offering them paid time
   9   off and then retracting that offer. (Comp. ¶ 31.) With respect to Binion, Plaintiffs
  10   allege that he somehow “interfered with” Plaintiffs’ medical benefits by “arranging
  11   them to be cut off as a means of further harassing” them.8 (Id. ¶ 40.) Plaintiffs
  12   further allege that Binion and American sent Beckman a disciplinary letter
  13   regarding her failure to report to work. (Id. ¶ 43.) Finally, Plaintiffs allege that
  14   American issued Plaintiffs write-ups and disciplinary points when they failed to
  15   report for work. (Id. ¶ 39.)
  16          All of these personnel decisions are of a type “fundamentally different from
  17   the type of conduct that constitutes harassment,” and they cannot support Plaintiffs’
  18   claims for disability harassment as a matter of law. Reno, 18 Cal. 4th at 646
  19   (1998); see also Cofer, 194 F. Supp. 3d at 1019 (personnel management actions,
  20   such as “project assignments, promotion or demotion, performance evaluations, or
  21   compensation decisions,” cannot constitute harassment.) Just as McMahan’s
  22   personnel management decisions cannot constitute sex-based harassment, they
  23   cannot constitute disability-based harassment either. The same is true for the
  24   personnel decisions allegedly made by Binion and American. Even if Binion had
  25
       8
  26     In fact, Plaintiffs’ medical benefits expired by the terms of the insurance plan after
       Plaintiffs had been on leave for a year, something Plaintiffs know and ignore in
  27   their Complaint. There are no factual allegations supporting an implication that
  28   Binion had authority to make determinations regarding American’s medical plans.

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   1   the authority to “interfere with” Plaintiffs’ medical benefits, decisions related to
   2   benefits and compensation are “official employment actions.” Cofer, 194 F. Supp.
   3   3d at 1019. Moreover, American’s issuance of write-ups and disciplinary points
   4   and Binion’s disciplinary letter all fall within the scope of typical employment
   5   actions taken for personnel management purposes. See id. As such, this alleged
   6   conduct cannot constitute harassment on the basis of disability as a matter of law.
   7   Id.; Reno, 18 Cal. 4th at 646; Sheppard, 67 Cal. App. 4th at 349. Plaintiffs’
   8   disability harassment claims should be dismissed on this basis alone.
   9                2.     Plaintiffs Fail To Plead A Causal Link Between The
                           Personnel Decisions And Plaintiffs’ Alleged Disabilities.
  10
  11         Plaintiffs’ claims also fail because they do not plead any facts that would
  12   show they were subjected to any harassment because of their alleged disabilities.
  13   To state a claim for harassment, Plaintiffs must show that the alleged harassment
  14   “was based on” their purported disabilities. See, e.g., Griffith v. Logisticare Sols.,
  15   LLC, No. CV 16-8666 PSG (JEMX), 2017 WL 8220435, at *4 (C.D. Cal. Mar. 9,
  16   2017). In other words, Plaintiffs must set forth a causal link between the
  17   harassment and their disabilities. Id.
  18         Here, Plaintiffs do not make a single factual allegation that would support a
  19   causal link between the alleged harassment of Plaintiffs and their alleged
  20   disabilities. Instead, Plaintiffs simply allege in conclusory fashion that
  21   “AMERICAN and DOES have harassed PLAINTIFFS because of their disability
  22   and/or medical condition.” (Compl. ¶ 87.) This allegation is a pure legal
  23   conclusion that Plaintiffs cannot rely on to support their disability harassment
  24   claims. Pareto, 139 F.3d at 699. Thus, Plaintiffs fail to state a claim for disability
  25   harassment under the FEHA. Griffith, 2017 WL 8220435, at *4.
  26         F.     Plaintiffs Fail To State A Claim Against American or AAG For
                    Sex/Gender Or Disability Discrimination.
  27
  28         Plaintiffs bring claims for discrimination on the basis of their sex/gender and

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   1   alleged disability in violation of the FEHA. As detailed above, Plaintiffs’ FEHA
   2   discrimination claim should be dismissed because Plaintiffs have failed to allege
   3   facts establishing that the FEHA applies to them. But even assuming for the sake
   4   of argument that the FEHA did apply, Plaintiffs’ discrimination claims would still
   5   fail because they do not plead facts that show they were subjected to any adverse
   6   employment actions because of their protected status.
   7         To state a prima facie claim for sex or gender-based discrimination under the
   8   FEHA, plaintiffs must plead facts sufficient to show that (1) they belong to a
   9   protected class, (2) they were performing according to their employer’s legitimate
  10   expectations, (3) they suffered an adverse employment action, and (4) there is a
  11   causal link between their status as protected class members and the adverse
  12   employment action. Godwin v. Hunt Wesson, Inc., 150 F.3d 1217, 1220 (9th Cir.
  13   1998), as amended (Aug. 11, 1998); see also McDonnell Douglas Corp. v.
  14   Green, 411 U.S. 792, 802 (1973). Where there is no direct evidence of
  15   discrimination (such as comments made revealing a discriminatory animus), as
  16   here, plaintiffs can show a causal link between their protected status and the
  17   adverse employment action by showing that other similarly situated non-protected
  18   employees were treated more favorably than the plaintiffs were. Godwin, 150 F.3d
  19   at 1220. In employment discrimination cases brought under the FEHA, employees
  20   are similarly situated to a plaintiff if they “perform similar work responsibilities or
  21   are guilty of similar misconduct.” Day v. Sears Holdings Corp., 930 F. Supp. 2d
  22   1146, 1162 (C.D. Cal. 2013).
  23         Here, Plaintiffs fail to plead any facts that would establish a causal link
  24   between their protected status as women and what they allege to be adverse
  25   employment actions. Instead, Plaintiffs merely make the conclusory allegation that
  26   “PLAINTIFFS’ sex and/or gender were motivating factors in the unlawful
  27   treatment described herein.” These conclusions of law, however, are insufficient to
  28   survive a motion to dismiss. Pareto, 139 F.3d at 699. And while Plaintiffs argue

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   1   that Nelson was treated more favorably than they were because he received paid
   2   leave during the course of the investigation, Plaintiffs do not allege that Nelson is
   3   “similarly situated” to them in any way. Nor could they. Nelson is a pilot, not a
   4   flight attendant like Plaintiffs and thus performs completely distinct work
   5   responsibilities from Plaintiffs and his employment is governed by a separate
   6   collective bargaining agreement. As such, Plaintiffs fail to state a claim for sex or
   7   gender-based discrimination because they fail to plead any causal link between their
   8   sex and the alleged adverse employment actions taken against them.
   9         For similar reasons, Plaintiffs’ claims for disability discrimination should
  10   also be dismissed. To state a claim for disability discrimination under the FEHA, a
  11   plaintiff must show that “(1) he suffers from a disability; (2) he is otherwise
  12   qualified to do his job; and (3) he was subjected to [an] adverse employment action
  13   because of his disability.” Faust v. Cal. Portland Cement Co., 150 Cal. App. 4th
  14   864, 886 (2007); see also Robinson v. HD Supply, Inc., No. 2:12-CV-00604-GEB,
  15   2012 WL 5386293, at *5 (E.D. Cal. Nov. 1, 2012) (noting that, to survive a motion
  16   to dismiss, a plaintiff must “offer sufficient circumstantial evidence to give rise to a
  17   reasonable inference of discrimination” on the basis of the plaintiff’s disability.)
  18         Here, Plaintiffs do not plead any facts that would show they were subjected
  19   to any alleged adverse employment actions because of their alleged disabilities.
  20   Plaintiffs do not allege that anyone at American made any comments that would
  21   suggest a discriminatory animus or even allege that they were treated differently
  22   than other, non-disabled employees because of their alleged disabilities. Plaintiffs
  23   merely make the conclusory allegation that “PLAINTIFFS’ disability and/or
  24   medical condition were motivating factors in the COMPANY and DOES’ actions
  25   taken against PLAINTIFFS.” Once again, this allegation is a pure legal conclusion
  26   that Plaintiffs cannot rely on to survive a motion to dismiss as to their disability
  27   discrimination claims. Pareto, 139 F.3d at 699. Thus, Plaintiffs fail to state a claim
  28   for disability discrimination under the FEHA.

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   1         G.     Plaintiffs’ Claims For Failure To Accommodate And Engage In
                    The Interactive Process Fail As A Matter Of Law.
   2
   3         Plaintiffs’ claims against American and AAG for failure to accommodate
   4   their alleged disabilities and engage in the interactive process should also be
   5   dismissed. To state a claim for failure to accommodate, Plaintiffs must show “(1) a
   6   FEHA recognized disability; (2) an ability to perform the essential functions of the
   7   job; and (3) employer failure to provide a reasonable accommodation for the
   8   disability.” Kelly v. Wal Mart Stores, Inc., 291 F. Supp. 3d 1145, 1151 (S.D. Cal.
   9   2017). Offering unpaid leave to a disabled employee has been recognized as a form
  10   of accommodation that can satisfy the FEHA. See, e.g., Jensen v. Wells Fargo
  11   Bank, 85 Cal. App. 4th 245, 263 (2000).
  12         Even assuming for the sake of argument that Plaintiffs have shown that they
  13   have FEHA recognized disabilities and have the ability to perform the essential
  14   functions of the job (and they have not), Plaintiffs fail to state a claim for failure to
  15   accommodate because they allege only that Plaintiffs voluntarily took leave and
  16   that American has provided that leave. (Compl. ¶¶ 29, 31.) American’s provision
  17   of leave to Plaintiffs until they are able to return to work satisfies the requirement to
  18   provide a reasonable accommodation. Id. While the complaint makes the
  19   conclusory statement that “DEFENDANTS did not reasonably accommodate
  20   PLAINTIFFS,” there is no factual allegation related to that alleged failure.
  21   Plaintiffs’ mere recitation of the elements of a claim for failure to accommodate
  22   under the FEHA is insufficient to survive a motion to dismiss. Bell Atlantic Corp. v.
  23   Twombly, 127 S. Ct. 1955, 1964-65 (2007).
  24         Plaintiffs also cannot state a claim for failure to engage in the interactive
  25   process because the Complaint establishes that Plaintiffs received an
  26   accommodation—they were both permitted to take a leave of absence and have
  27   their jobs held open during that time. See Watkins v. Ameripride Servs., 375 F. 3d
  28   821, 829, n.5 (9th Cir. 2004) (“The fact that Ameripride reasonably accommodated

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   1   Watkins’ disability forecloses his allegation that Ameripride failed to engage in the
   2   inter-active process.”). Regardless, Plaintiffs have not adequately pled that they
   3   attempted to engage American in the interactive process and that American did not
   4   participate. See Gov. C. § 12940(n) (noting that an employer is obligated to engage
   5   in the interactive process “in response to a request for reasonable accommodation
   6   by an employee . . . .”). Mere recitations of the elements of the claim—i.e., stating
   7   that American failed to engage in the interactive process—is insufficient to survive
   8   a motion to dismiss. Twombly, 127 S. Ct. at 1964-65. Their claims for failure to
   9   accommodate and engage in the interactive process should be dismissed.
  10         H.     Plaintiffs Fail To State Claims For Retaliation.
  11         Plaintiffs also have not stated a claim for retaliation in violation of the FEHA
  12   or whistleblower retaliation under Labor Code §§ 1102.5 and 6310 as a matter of
  13   law because they fail to allege facts that show they were subjected to adverse
  14   employment actions because they engaged in protected activity. To state a claim
  15   for retaliation under either the FEHA or Labor Code §§ 1102.5 or 6310, Plaintiffs
  16   must show that they were subjected to adverse employment actions because of their
  17   alleged participation in protected activities. See, e.g., Patten v. Grant Joint Union
  18   High School Dist., 134 Cal. App. 4th 1378, 1388 (2005) (noting that to make a
  19   prima facie case for a retaliation in violation of § 1102.5, the plaintiff must show a
  20   “causal link” between her protected activity and the adverse employment action);
  21   Yanowitz v. L’Oreal USA, Inc., 36 Cal. 4th 1028, 1042 (2005) (noting same
  22   requirement for FEHA retaliation claims); Oyarzo v. Tuolumne Fire Dist., 955 F.
  23   Supp. 2d 1038, 1097 (E.D. Cal. 2013) (noting same requirement for Labor Code §
  24   6310 claims).
  25         Here, Plaintiffs do not allege any facts that would show that Plaintiffs faced
  26   any adverse employment actions because of their participation in protected
  27   activities, and so their claims should be dismissed. With respect to their claims for
  28   whistleblower retaliation under Labor Code §§ 1102.5 and 6310, Plaintiffs plead

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   1   only that they “engaged in activity protected by the California Labor Code” and that
   2   “[i]n response, the COMPANY . . . retaliated against PLAINTIFFS by changing the
   3   terms and conditions of their employment.” (Compl. ¶¶ 129, 134.) These
   4   allegations, however, are pure legal conclusions devoid of any facts that would
   5   support a causal link between Plaintiffs’ engagement in protected activity and any
   6   adverse employment actions. As such, they cannot allow Plaintiffs’ claims for
   7   whistleblower retaliation to survive a motion to dismiss. And with respect to their
   8   FEHA claim, Plaintiffs do not even provide conclusory allegations that they faced
   9   adverse employment actions because of their involvement in protected activities, let
  10   alone plead facts that would set out a causal link between their alleged protected
  11   activity and any retaliation. As such, Plaintiffs fail to state a claim for retaliation
  12   under the FEHA or Labor Code §§ 1102.5 and 6310.
  13         I.     Plaintiffs Fail to State A Claim For Failure to
                    Prevent/Investigate/Remedy Harassment, Discrimination and/or
  14                Retaliation (FEHA).
  15         To state a claim under the FEHA for failure to prevent, investigate, or
  16   remedy harassment, discrimination, and/or retaliation, a plaintiff must show: (1) the
  17   plaintiff was subjected to discrimination, harassment, or retaliation, (2) the
  18   defendant failed to take all reasonable steps to prevent, investigate, or remedy
  19   discrimination, harassment, or retaliation, and (3) this failure caused the plaintiff
  20   harm. Andrade v. Arby’s Rest. Group, Inc., 225 F. Supp. 3d 1115, 1131 (N.D. Cal.
  21   2016). Absent harassment, discrimination, or retaliation, the employer cannot be
  22   liable. See Scotch v. Art Institute of Cal., 173 Cal. App. 4th 986, 1021 (2009);
  23   Escriba v. Foster Poultry Farms, 793 F. Supp. 2d 1147, 1165 (E.D. Cal. 2011).
  24         As set forth above, Plaintiffs cannot state a claim for harassment on the basis
  25   of their alleged disabilities, discrimination on the basis of their sex or their alleged
  26   disabilities, or retaliation against any defendant. As a result, their claims against
  27   American and AAG for failure to prevent, investigate, or remedy disability
  28   harassment, sex or disability-based discrimination, and retaliation have no basis and

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   1   must be dismissed as a matter of law. Scotch, 173 Cal. App. 4th at 1021.
   2         Furthermore, as set forth above, Plaintiffs cannot state a claim for
   3   American’s or AAG’s failure to prevent, investigate, or remedy the alleged
   4   harassment of Plaintiffs by Nelson on the basis of sex because Plaintiffs’
   5   allegations make clear that American did take reasonable steps to investigate and
   6   remedy the alleged harassment by putting Nelson on a leave of absence during the
   7   investigate and terminating Nelson’s employment at the conclusion of the
   8   investigation. (Compl. ¶¶ 32-38.) Thus, Plaintiffs’ claims for failure to prevent,
   9   investigate, or remedy harassment, discrimination and/or retaliation should be
  10   dismissed for failure to state a claim. Andrade, 225 F. Supp. 3d at 1131.
  11         J.     Plaintiffs Fail To State Claims for IIED, NIED, And Negligent
                    Retention/Supervision.
  12
                    1.     Plaintiffs Fail to State IIED And NIED Claims.
  13
  14         Plaintiffs fail to state claims for intentional infliction of emotional distress
  15   (“IIED”) and negligent infliction of emotional distress (“NIED”) against American
  16   or AAG because, under well-settled law, IIED and NIED claims cannot be
  17   maintained against employers for taking personnel management-related actions or
  18   other actions “within the context of the employment relationship.” See Schaffer v.
  19   GTE, Inc., 40 F. App’x 552, 557-58 (9th Cir. 2002); see also Cole v. Fair Oaks
  20   Fire Protection Dist., 43 Cal. 3d 148, 160 (Cal. 1987). Instead, such claims are
  21   “within the exclusive remedy provisions” of workers’ compensation. Schaffer, 40
  22   F. App’x at 557; see also Dubose v. Excelsior Educ. Ctr., No. EDCV 10-0214 GAF
  23   (OPx), 2010 WL 11556752, at *13 (C.D. Cal. Sept. 22, 2010) (“Dubose’s negligent
  24   supervision, NIED, and IIED claims implicate Excelsior’s agents and
  25   ‘supervisors[’] . . . unlawful behavior,’ and their actions in ‘asserting their power
  26   over’ her . . . . [These] claims are barred by worker’s compensation exclusivity.”)
  27         Here, Plaintiffs’ allegations against American all constitute personnel
  28   management-related actions that occurred within the context of the employment

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   1   relationship. Plaintiffs allege that American “interfered with PLAINTIFFS’
   2   medical benefits” (Compl. ¶ 40), called and/or wrote Plaintiffs to ask that they
   3   return to work (Id. ¶¶ 39, 43), issued Plaintiffs write-ups and disciplinary points for
   4   failing to appear at work (Id. ¶ 39), gave them unpaid leave (Id. ¶ 31), and did not
   5   conduct its investigation in the precise manner that Plaintiffs contend it should
   6   have. (Id. ¶¶ 33-38). All of these allegations are personnel management and/or
   7   business decisions made in the course of the employment relationship.
   8         The California Supreme Court confronted similar claims in Cole and found
   9   that they came within the exclusive provisions of workers’ compensation
  10   exclusivity. 43 Cal. 3d at 159-60. There, an employee claimed his employer
  11   harassed him, issued unfair discipline to him, demoted him, and ultimately forced
  12   him to return to duty from sick leave to work in an entry-level position at the
  13   company. Id. at 152-53. The court held that, despite the alleged discriminatory
  14   motive, the complained of actions were “a normal part of the employment
  15   relationship, such as demotions, promotions, criticism of work practices, and
  16   frictions in negotiations as to grievances.” Id. at 160. There is no basis to conclude
  17   that American’s alleged “workplace-related misconduct differs in kind from the
  18   Cole supervisor’s alleged misdeeds, and thus, these . . . claims are barred by
  19   worker’s compensation exclusivity.” Dubose, 2010 WL 11556752, at *13.
  20         There is also no basis to hold American or AAG vicariously liable for
  21   another defendant’s alleged IIED or NIED. With respect to Binion and McMahan,
  22   the conduct Plaintiffs complain of overlaps with their allegations against American
  23   and constitutes personnel management decisions. (See Compl. ¶¶ 41-43 (claiming
  24   Binion interfered with Plaintiffs’ medical benefits and sent them a disciplinary
  25   letter); ¶ 31 (claiming McMahan offered and then retracted paid leave to Plaintiffs).
  26   And as discussed, American cannot be vicariously liable for Nelson’s conduct
  27   because, as a matter of law, it was outside of the scope of his employment. See,
  28   e.g., Lisa M., 12 Cal. 4th at 296. As such, Plaintiffs’ IIED and NIED claims against

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   1   American and AAG should be dismissed.
   2                2.     Plaintiffs’ Negligent Retention/Supervision Claim Fails.
   3         Plaintiffs’ claim for negligent retention/supervision must be dismissed for the
   4   same reasons as their IIED and NIED claims—they are preempted by the Worker’s
   5   Compensation statute. See Dubose, 2010 WL 11556752, at *13.
   6         Furthermore, even if Plaintiffs’ negligent retention/supervision claim were
   7   not preempted (which it is), Plaintiffs have not alleged sufficient facts to state a
   8   claim for negligent retention/supervision. Plaintiffs make conclusory statements
   9   that American “retained [Nelson] . . . with a conscious disregard of PLAINTIFFS’
  10   rights and safety” and “did not monitor his activities” and “fail[ed] to supervise”
  11   him, but these conclusions are unsupported by Plaintiffs’ factual allegations, which
  12   are actually directly to the contrary. Indeed, as Plaintiffs’ allegations make clear,
  13   American investigated Nelson’s conduct after receiving a complaint, placed Nelson
  14   on leave, and subsequently terminated Nelson’s employment. (Compl. ¶¶ 33-38.).
  15   Plaintiffs also do not plead any facts that show American knew of past sexual
  16   harassment by Nelson that could have put it on notice of Nelson’s likelihood to
  17   commit the alleged sexual harassment in the future. Plaintiffs’ conclusory
  18   allegations that American acted negligently, with nothing more, are insufficient to
  19   state a claim. See Pareto, 139 F.3d at 699.
  20         K.     Failure To Reimburse Business Expenses.
  21         Plaintiffs also fail to state a claim for failure to reimburse business expenses
  22   in violation of Labor Code § 2802 because none of the expenses Plaintiffs allegedly
  23   incurred are “necessary expenditures or losses incurred . . . in direct consequence of
  24   the discharge of [Plaintiffs’] duties.” Lab. Code § 2802(a). Plaintiffs claim that
  25   they “incurred necessary business-related expenses and costs that were not
  26   reimbursed by the COMPANY, including, costs for mileage and parking to meet
  27   with the COMPANY’s Human Resources representative” as a part of American’s
  28   investigation into Nelson’s misconduct. (Compl. ¶ 158.) Plaintiffs are not entitled
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   1   to recover either expense.
   2         First, Plaintiffs are not entitled to recover parking expenses for their meeting
   3   with Human Resources representatives at LAX because, as Plaintiffs allege, LAX is
   4   Plaintiffs’ “home base.” (See Compl. ¶¶ 23, 35.) Employers are not required to
   5   reimburse their employees for parking expenses incurred as a part of an employee’s
   6   commute from home to the workplace, as it is not “necessary” for the employee to
   7   park there. See, e.g., Sullivan v. Kelly Servs., Inc., No. C 08–3893 CW, 2009 WL
   8   3353300, at *7 (N.D. Cal. 2009) (finding an employee’s travel time was not
   9   compensable, just like regular commuting time, and therefore the mileage,
  10   tolls, and parking costs incurred were not incurred within the scope of
  11   employment). Plaintiffs, of course, could have used any other means of accessing
  12   the workplace, including carpooling, being dropped off, using public transportation
  13   or ride-sharing services, etc. For the same reasons, Plaintiffs are not entitled to
  14   reimbursement for their vehicle mileage between their places of residence and their
  15   home base, LAX. Id. Plaintiffs do not claim entitlement to reimbursement for any
  16   other expenses. As such, Plaintiffs fail to state a claim under Labor Code § 2802.
  17         L.     Plaintiffs Fail To State A Claim For Violation of Ralph Act.
  18         Lastly, Plaintiffs fail to state a claim against American or AAG for violation
  19   of the Ralph Act. To state a claim under the Ralph Act, the plaintiff must allege
  20   that “(1) the defendant threatened or committed a violent act against the plaintiff,
  21   (2) the plaintiff was harmed, (3) a substantial motivating reason for the defendant’s
  22   conduct was his perception that the plaintiff was a member of a protected group,
  23   and (4) the defendant’s conduct was a substantial factor in causing the plaintiff’s
  24   harm.” Carr v. Cty. of San Diego, No. 19-CV-1139 JLS (MDD), 2020 WL
  25   1046874, at *7 (S.D. Cal. Mar. 4, 2020). Plaintiffs allege that Nelson, as an
  26   “agent” of American, committed acts of violence against Plaintiffs that were
  27   substantially motivated by Plaintiffs’ gender. Plaintiffs do not plead that American
  28   did anything to incite or aid Nelson in committing the alleged violence against
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   1   Plaintiffs; to the contrary, the Complaint shows that American investigated the
   2   allegations against Nelson and terminated his employment. (Compl. ¶¶ 32-38.)
   3         For American to be liable for Nelson’s conduct under the Ralph Act, the
   4   conduct must be attributable to American under the doctrine of respondeat
   5   superior. See Hernandez v. City of San Jose, No. 16-CV-03957-LHK, 2016 WL
   6   5944095, at *11 (N.D. Cal. 2016) (granting motion to dismiss Ralph Act claim
   7   against City stemming from employee’s alleged violent conduct and noting that the
   8   City could only be liable if either it committed the violence against the plaintiff, or
   9   one of its agent’s conduct was attributable to it); cf. Beliveau v. Caras, 873 F. Supp.
  10   1393, 1399 (C.D. Cal. 1995) (noting that public entities may be responsible for
  11   their agent’s violations of the Ralph Act under a respondeat superior theory).
  12         As detailed above, Nelson’s sexual misconduct cannot be attributed to
  13   American because it was outside the scope of Nelson’s employment and American
  14   did not ratify it. See, e.g., Doe, 35 F. Supp. 3d at 1204-05. As such, American and
  15   AAG cannot be held liable under the doctrine of respondeat superior for any
  16   violent acts by Nelson against Plaintiffs. See Hernandez, 2016 WL 5944095, at
  17   *11. Thus, Plaintiffs also fail to state claims for violation of the Ralph Act.
  18   IV.   CONCLUSION.
  19         For these reasons, American and AAG respectfully request that their Motion
  20   be granted, and that this Court dismiss all of Plaintiffs’ claims against them.
  21
              Dated: September 3, 2020.             MARK W. ROBERTSON
  22                                                KELLY WOOD
  23                                                O'MELVENY & MYERS LLP

  24                                                By:         /s/ Kelly Wood
                                                                 Kelly Wood
  25                                                Attorneys for Defendants American
                                                    Airlines Group Inc., American Airlines,
  26                                                Inc., and Tim McMahan
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